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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA
                                    )
                                    ) Case No. 8:15-CV-427
                                    )
DEANDRE CRITTENDEN,                 ) PLAINTIFF'S TRIAL BRIEF
                 Plaintiff,         )
v.                                  )
PAUL HASIAK,                        )
                                    )
                                    )
                 Defendant.


       On November 21, 2013, Mr. Crittenden was driving his car around 44th and Pratt at

approximately 8:00 p.m. Mr. Crittenden had attended the funeral of his brother earlier that day

and was feeling hopeless and distraught. That on or about November 21, 2013, the Defendant, Paul

Hasiak and his partner, Eric Meads started to follow a black Chevy Tahoe driven by Mr. Crittenden.

Mr. Crittenden parked near 44th and Ruggles near his mothers home.

       Mr. Crittenden exited the vehicle and began to run based on fear of what the officers

may do. Mr. Crittenden did have a gun, but at no time did he point the gun at either officer. The

weather condition were snowy, cold and dark. The defendant, Paul Hasiak and his partner Mr.

Crittenden. Mr. Crittenden eventually stopped running and attempted to throw the gun on top of a

house. Mr. Crittenden turned around and raised his hands to surrender to the officers.

       Mr. Critterenden was shot seven times by the defendant, Paul Hasiak even though he attempted

to surrender. The Defendant, Paul Hasiak did not give commands to the Plaintiff to surrender.

The Defendant, Paul Hasiak handcuffed Mr. Crittenden even though he had just shot him.

Mr. Crittenden was taken to Alegent Creighton Health Medical Center. Mr. Crittenden was in

the hospital for several weeks and still has lingering effects from being shot.

                                                 ISSUES

           1. Whether Defendant deprived Plaintiff of rights secured to him by the Fourth and
              Fourteenth Amendments to the United States Constitution by the use of excess
              force against him.
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             2. Whether and in what amount Plaintiff suffered damages proximately cause by the
                excessive use of excessive force against him.
             3. Whether under 42 U.S.C. § 1988 Plaintiff is entitled to an award of attorney fees
                in the event he is a prevailing party.

                                               ARGUMENT

          Excessive force was used against the plaintiff in this case. The Fourth Amendment gives

citizens the right to be free from use of excessive force during arrest. Graham v. Connor, 490 U.S.

386, 394-95 (1989). In this case, Mr. Crittenden was shot seven times by the defendant, Paul Hasiak

even though he attempted to surrender. The Defendant, Paul Hasiak did not give commands to the

Plaintiff to surrender, this clearly would be an example of excessive force. The Defendant used more

force than reasonable under the situation. Reasonable attorney fees are allowable in 42 U.S.C. § 1988

cases.

                                              CONCLUSION

          Based on the evidence applied to the controlling law, this court and the jury should

find in favor of Mr. Crittenden and against the Defendant.


                                                              Deandre Crittenden, Plaintiff

                                                              BY:/s/ William R. Harris
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                                                                      And

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                                      CERTIFICATE OF SERVICE

          The foregoing Plaintiff's Trial Brief was filed using CMF/ECF system on December 11, 2017

which will give electronic notice to Michelle Peters, Counsel for the Defendant.
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                                          /s/ William R. Harris, #22996
